Case 3:20-cv-00751-JEJ Document 30 Filed 11/04/20 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KATHLEEN EVANINA and : Civil No. 3:20-CV-00751
MICHAEL EVANINA,

Plaintiffs,

| (JONES, C.J.)
(SAPORITO, M.J.)

THE FIRST LIBERTY
INSURANCE CORPORATION, :

Defendant.

ORDER

AND NOW, this 4* day of November, 2020, in accordance with the
accompanying Memorandum, IT IS HEREBY ORDERED that:

1. The motion for a protective order (Doc. 20) filed by the
defendant First Liberty Insurance Corporation is GRANTED in part
and DENIED in part.

29 The motion is GRANTED with respect to paragraph 2 (a)
through (f) of the Fed. R. Civ. P 30(b)(6) notice of deposition (Doc. 20-1)
and paragraph 2 (j) regarding the “household exclusion,” the “family car

exclusion,” and the “unlisted driver exclusion.”
Case 3:20-cv-00751-JEJ Document 30 Filed 11/04/20 Page 2 of 2

By The motion is DENIED with respect to paragraph 2 (g)
through (1) and paragraph 2 (j) as it relates to the “regular use exclusion.”
4. The deposition shall be scheduled at a time mutually

convenient to counsel and the deponent within the next 60 days.

JOSEPH F. SAPORITO, JR.
United States Magistrate Judge

Dated: November 4, 2020
